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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

In Re: Don Karl Juravin

DON KARL JURAVIN,

                       Appellant,

v.                                                        Case No: 6:20-cv-2117-Orl-40

FEDERAL TRADE COMMISSION,

                       Appellee.


           NOTICE TO ADDITIONAL COUNSEL NOT REGISTERED FOR CASE
              MANAGEMENT AND ELECTRONIC CASE FILING (CM/ECF)

          Upon review of this case, it appears that attorney Michael Mora is not registered

to participate in the Case Management and Electronic Case Filing (“CM/ECF”) program

of the Court. Further such attorney is listed as additional counsel for a party whose

designated counsel is participating in the Court's Case Management and Electronic Case

Filing.

          Any attorney, including those appearing as additional counsel for a party in this

case, shall register and participate, as well as docket, in CM/ECF. Within thirty (30) days

from the date of this Order all counsel shall be in compliance with this directive. In the

event such attorney has registered to participate in CM/ECF, counsel will continue to

receive filings by the Court in the case, but such filings will be transmitted to counsel

electronically.
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      Counsel is advised that extensive notice of the Court's Case Management and

Electronic Case Filing program has been provided through the Court's webpage and

announced through numerous mailings.

      Counsel is directed to the website located at www.flmd.uscourts.gov under

"CM/ECF" where a password may be requested from the Court. Counsel must take the

Tutorials offered on the website before using the CM/ECF system.

      DONE and ORDERED in Orlando, Florida on this 17th day of December, 2020.




Copies furnished to:

Counsel of Record
